   Case 4:24-cv-03783   Document 14   Filed on 01/21/25 in TXSD   Page 1 of 2
                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       January 21, 2025
               IN THE UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

                                   §
Marvin B. Freedman,                §
                                   §
           Plaintiff,              §
                                   §        Civil Action No. 4:24-cv-03783
v.                                 §
                                   §
Wells Fargo Home Mortgage, et al., §
                                   §
           Defendant.              §
                                   §

                 ORDER OF NON-COMPLIANCE AND
                 RESETTING RULE 16 CONFERENCE

     By order dated November 4, 2024, this Court set the case for an initial

scheduling conference on January 24, 2025. Dkt. 5. The conference was later

reset to January 28, 2025. Dkt. 13. The parties were explicitly required to

submit a Joint Discovery Case Management Plan by January 14, 2025. Id. at

12. As of this date, no JDCMP has been filed.

     It is therefore ORDERED that the initial scheduling conference

previously set for January 28, 2025 (Dkt. 13) is hereby RESCHEDULED for

                            February 21, 2025
                              at 11:00 a.m.
                                by Zoom.

     The parties are reminded that they must confer per Fed. R. Civ. P. 26(f)

and submit the Joint Discovery Case Management Plan to this Court at least
   Case 4:24-cv-03783   Document 14    Filed on 01/21/25 in TXSD   Page 2 of 2




ten days before the conference date. See Dkt. 5. Failure to comply may result

in sanctions, including dismissal of the action and assessment of fees and costs.

See id. at 3.

      Signed on January 21, 2025, at Houston, Texas.

                                        __________________________________
                                        Yvonne Y. Ho
                                        United States Magistrate Judge




                                       2
